             Case 1:16-vv-00770-UNJ Document 35 Filed 09/22/17 Page 1 of 2




           In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                             No. 16-770V
                                         Filed: March 2, 2017
                                            UNPUBLISHED
*********************************
DEBRA REHM,                                          *
                                                     *
                           Petitioner,               *
v.                                                   *
                                                     *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                                  *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                                  *
                                                     *
                           Respondent.               *
                                                     *
****************************
Amber Diane Wilson, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.
Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.


                         DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On June 29, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleged that she suffered a left shoulder injury caused-in-fact by her
August 23, 2015 influenza vaccination. On September 26, 2016, the undersigned
issued a decision awarding compensation to petitioner based on respondent’s proffer.
(ECF No. 18).

       On March 1, 2017, petitioner filed an unopposed motion for attorneys’ fees and
costs. (ECF No. 31). 3 Petitioner requests attorneys’ fees in the amount of $11,295.70
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3   In the motion, petitioner states that respondent has no objection to petitioner’s request.
           Case 1:16-vv-00770-UNJ Document 35 Filed 09/22/17 Page 2 of 2



and attorneys’ costs in the amount of $1,341.81 for a total amount of $12,637.51. Id. at
1-2. In compliance with General Order #9, petitioner has filed a signed statement
indicating petitioner incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $12,637.51 4 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Amber D. Wilson, Esq. 5

        The clerk of the court shall enter judgment in accordance herewith. 6

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




4This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5Petitioner requests that the check be forwarded to Maglio Christopher & Toale, PA, at 1775
Pennsylvania Avenue, N.W., Suite 225, Washington, D.C. 20006. (ECF No. 31, p. 2.)

6 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
